                Case 1:18-cr-00056-DAD-SKO Document 15 Filed 03/21/18 Page 1 of 3
AO 199A (Rev. 12111) Order Setting Conditions of Release                                                      Page I of     3        Pages



                                      UNITED STATES DISTRICT COURT
                                                                     for the                                 FIL D
                                                           Eastern District of California                        MAR '/. 1 Z01B
                                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF CALIFORNIA
                    United States of America                             )                             BV     ..:;::==) 'Q;;e: c-r:::>
                               v.                                        )                                           DEPUTY CLERI\

                                                                         )        Case No.     1: 18-cr-00056-LJO-SKO
                 PARAMJIT SINGH MANGAT                                   )
                              Defendant
                                                                         )

                                      · ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court a~ required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:              · United. States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                            Place
       Courtroom 7 before Magistrate Judge Sheila K. Oberto

      on                                                           4/30/2018 at 1:00 PM
                                                                        Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
               Case
AO 199B (Rev. 09/08-    1:18-cr-00056-DAD-SKO
                     EDCA                                         Document
                          [Fresno]) Additional Conditions of Release (General) 15   Filed 03/21/18 Page 2 of 3Page I2J of IJJ Pages
MANGAT, Paramjit Singh
Doc. No.1:18-CR-00056-LJO-SK0-1

                                      ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety
of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked
below:

D    (6)        The defendant is placed in the custody of:

                   Name of person or organization

           who agrees (a) to supervise the defendant in accordance with all conditions ofi:elease, (b) to use every effort to assure the
           appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
           defendant violates any conditions of release or disappears.

                    SIGNED:-----,--=-~-~----­
                                     CUSTODIAN
0    (7)       ·The defendant must:
     0          (a) report on a regular basis to the following agency:
                    Pretrial Services and comply with their rules and regulations;
                (b) report in person to the Pretrial Services Agency on the first working day following your release
                    from custody;
                (c) reside at a location approved by the PSO, and not move or be absent from this residence for more
                    than 24 hrs. without the prior approval of the PSO; travel restricted to Eastern District of
                    California, unless otherwise approved in advance by PSO;
                (d) report any contact with law enforcement to your PSO within 24 hours;
                (e) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance
                    without a prescription by a licensed medical practitioner; and you must notify Pretrial Services
                    immediately of any prescribed medication(s). However, medical marijuana, prescribed and/or
                    recommended, may not be used;
                (f) not associate or have any contact with any codefendants l!nless in the presence of counsel or
                    otherwise approved in advance by the PSO;
                (g) participate in a program of medical or psychiatric treatment including treatment for drug or
                    alcohol dependency, as approved by the PSO; you must pay all or part of the costs of the
                    counseling services based upon your ability to pay, as determined by the PSO;
                (h) surrender any passport to the Clerk, United States District Court no later than April6, 2018, and
                    obtain no passport during the pendency of this case; and,
                (i) not use or possess any identification, mail matter, access device or any identification-related
                    material other than your own legal and true name.
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AO 199C (Rev. 09/08- EDCA [Fresno]) Advice ofPenalties                                                         Page _3_·_ _ of   3   Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victini, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.                      ·
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                  /   Defendant's Signature




                                               Directions to the United States Marshal

( [l]) The defendant is ORDERED released after processing.



Date:   _3=-a.../_2{~/---""f¥__
                                                         Jenn1fer L. Thurston, U.S. Magistrate Judge
                                                                                      Printed name and title




                   DISTRIBUTION:      COURT      DEFENDANT     PRETRIAL SERVICE       U.S. ATTORNEY        U.S. MARSHAL
